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                          UNITED STATE DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                     §        MDL NO. 2179
“DEEPWATER HORIZON” IN THE                          §
GULF OF MEXICO, ON APRIL 20, 2010                   §
                                                    §
This document related to                            §         SECTION: J
Docket No. 10-08888                                 §
David C. Carlile                                    §
Document No. 64540                                  §
and                                                 §         JUDGE BARBIER
Docket No. 10-08888                                 §
QMCD, LP                                            §
Document No. 64562                                  §         MAG. JUDGE SHUSHAN

            ORDER ON MOTION TO SUBSTITUTE COUNSEL OF RECORD

       Considering the Motion to Substitute Counsel of Record of Plaintiffs David C. Carlile

and QMCD, LP’s (“Plaintiffs”), and good cause appearing, the Motion is hereby GRANTED;

       It is ORDERED that Bruce A. Craig be withdrawn as counsel of record for Plaintiffs, that

Paul W. Turner be substituted as counsel of record for Plaintiffs, and that the Court’s ECF

system shall be updated to reflect these changes.

       New Orleans, Louisiana, this ______ day of ___________________, 2012.



                                                        _________________________________
                                                        Carl J. Barbier
                                                        United States District Judge
